         Case 4:06-cr-00410-BRW Document 277 Filed 07/24/13 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                               4:06-CR-00410-06-BRW

HOLLIS G. BROWN

                                          ORDER

       Defendant’s pending, unopposed Motion to Continue Revocation Hearing (Doc. No. 276)

is GRANTED. Accordingly, the revocation hearing currently set for Thursday, July 25, 2013, is

continued until a later date.

       IT IS SO ORDERED this 24th day of July, 2013.


                                               /s/Billy Roy Wilson
                                       UNITED STATES DISTRICT JUDGE
